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  Message


  From:                       DarlineJean [darlinejean@google.com]
  Sent:                       5/2/2022 1:30:39 PM
  To:                         Bipin Khurana [khuranab@google.com]
  Subject:                    Re: [Deal Review]|GPX] Meeting agenda, May 3, 2022: (1) Ringier (2) Mediahuis



  Hi Bipin,
  In light of Friday's announcement in reference to Marlena, After this month, please direct all deal reviews to me
  for GPL approval. Nash can continue to be the GPL approver for apps. Since I'm still pretty new, I will reach
  out directly to you with any questions.
  Thanks              much,
  DJ

  On Fri, Apr 29, 2022 at 1:45 PM Bipin Khurana                         <khuranab(@@google.com>       wrote:
     Privileged           and Confidential

     Scott, Marlena, Vik, Ron, Jessica (delegating              for Kerry),

     We have 2 Deals for revew               at the GPX next week on Tuesday,       May 3 @ 8:30 am PT.
     Looking forward to seeing you all.
     Have a great weekend!!


     Regards,
     Bipin

     1. [GP 22-027) Ringler AG
     e        Reason for escalation: Discount
     ®        Product(s): DFP, AdX
     ®        Region(s): EMEA
     e        Deal Representatives:
     Oo                holm Munstermann (Head of News & Broadcast DACH, EMEA -DACH - LPS)
     Oo                Cigudia Becker (Strategic Partner Lead, EMEA - DACH - LPS)
     &       Ask for GPX: Context: No contract has been executed since the GPX approval obtained in July 2021. Now the
     partner has agreed to a single stack with Google Ad Manager hence, we are coming back to GPX with request to approve
     the following
     °                 PA:        (approved in July 2021)
                       PD:       (approved in July 2021)
            0O 90 0




                       PG:       (approved in July 2021)
   0000002908:




                       Video hosted/DAI:                    (approved in July 2021)
                       DFP Core Ad Serving:                    (vs.         approved by in July 2021)
                                                               (new ask)
                       1P Audience/DRM:                     (vs.          approved in July 2021)
                       Video - Non-Hosted:                  (vs.            approved in July 2021))
                       Data Transfer:                  (vs.         approved in July 2021))
                       Exchange Bidding (Instream/Apps):             (vs.         approved in July 2021))
                                                      during 6 months migration phase (new ask)
                       Term Length: 24 months (vs 24 months with                                  after 12 months approved in July 20271 )
   O




              Success Metrics:
   Ff




                       Revenue: Per the table in the Deal Doc for Gross and Net Revenue.
   0




     °                 Non Revenue: Programmatic access to partner's live video inventory - Partner has a live video channel
     ("Blick TV"). We want to have IMA SDK and Google DAI implemented by end of 2022 and make it eligible for programmatic
     demand on AdX




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         Case 1:23-cv-00108-LMB-JFA Document 1007-8 Filed 07/26/24 Page 2 of 2 PageID# 73618
     «2, [(GP22-011] Mediahuis N.V.
   @
              Reason for escalation: Discount
              Product(s): DFP, AdxX
           & O & © @
   00000000000



              Region(s): EMEA
              Deal Representatives:
                       Kenny Vaicks (Country Lead Belgium & Netherlands, EMEA - Northern Europe - LPS)
              Ask for GPX: Renew Mediahuis’ open group deal with following
                       Core ad serving:                   (currently
                                                   on DFP (same as current)
                       1P audience:                   (same as current)
                       DRM Video / Audio / Advanced Display: No discount (currently
                       Video Hosted:                  (currently
                       Video - Non Hosted:                    (currently
                                        Adx revenue shares
                       PG:         (same as current)
                       PD:         (same as current)
                       PA:          (same as current)
                       DT files:                 (same as current), currently they have 10 but can potentially increase to 24 (which
     we used as input in the deal model)
     ®        Success Metrics:
     °                 Revenue: Per the table in the Deal Doc for Gross and Net Revenue.
     °                 Non Revenue:
     "                           Keep Mediahuis as an allie, from an EPS standpoint - Support us reputationally (Velocity) in 2022
     and 2023, openly, and publicly on projects where we work together and have positive outcome
     "                           Keep Mediahuis as an allie, from an GPP standpoint, for Copyright and Garamond - Garamond
     has been presented to mediahuis in light of the Copyright legislation in NL
     "                           Grow our partnership, as they grow an-organically and buy other companies - Onboard the
     inventory of their acquisitions




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